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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                               CASE NO. 1:88-cr-01007-MP-AK

WILLIE BUD REED, JR.,

      Defendant.
________________________________/

                                             ORDER

       This matter is before the Court on Doc. 1118, Emergency Motion to Correct Clerical

Errors in Defendant’s Presentence Investigation Report. Defendant states that he was incorrectly

attributed three points on his presentence investigation report, and that unless the clerical error is

corrected pursuant to Rule 36 of the Federal Rules of Criminal Procedure, he will be transferred

to a higher security prison. Defendant has attached the Magistrate Judge’s Report and

Recommendation, Doc. 733, which this Court adopted in Doc. 759, seeking to show that he was

erroneously attributed these three points. Contrary to Defendant’s representation, the Report

only assumes that Defendant’s allegations are true for the purpose of deciding whether

Defendant had shown any prejudice to establish a claim of ineffective assistance counsel.

Further, the Report also states that the three points could have been attributed to the criminal

offense described in paragraph 29 of the presentence report. Because the Court finds no error in

the record, the Defendant’s Motion to Correct Clerical Errors is DENIED.


       DONE AND ORDERED this              19th day of October, 2006


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
